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                                                           APPENDIX B

       Below is a list of MDLs wherein I, M. Anderson Berry of Clayeo C. Arnold, APC, have performed work including information

regarding the presiding judge, position held, nature of the case, description of the work performed, and ongoing time commitments:


 Case Name                    Presiding Judge’s Name        Position Held      Nature of the Case     Description of Work
                              and Contact information
 Arthur J. Gallagher Data     Hon. Mary M. Rowland          Co-Lead            Class Action Data      Participated in consolidation and
 Breach Litigation, et al.,   (312) 435-5358                Counsel            Breach                 leadership efforts and law and motion
 No. 1:22-cv-00137 (N.D.                                                                              including opposing Defendants’
 IL)                                                                                                  dispositive motions. This case will not
                                                                                                      require a large time commitment.
 In Re: Overby-Seawell        Hon. Steven D. Gimberg        Co-Lead            Class Action Data      Participated in law in motion including
 Company Customer Data        (404) 215-1470                Counsel            Breach                 and opposing Defendants’ dispositive
 Security Breach                                                                                      motions. Participated in mediation and
 Litigation, No. 1:23-md-                                                                             successfully settled this case. This case
 03056-SDG (N.D. GA)                                                                                  will require minimal ongoing time
                                                                                                      commitment.
 (MDL No. 3056)
 Loh, et al. v. Future        Hon. Beth Labson Freeman      Co-Lead            Class Action           Participated in law and motion
 Motion, Inc., No. 5:21-cv-   BLFpo@cand.uscourts.gov       Counsel            Manufacturing and      including opposing Defendant’s
 06088-BLF (N.D. CA)                                                           Design Defect          dispositive motions. This matter is
                                                                                                      currently in the discovery phase of
 (MDL No. 3087)
                                                                                                      litigation and will not require a large
                                                                                                      time commitment
 Soto v. Future Motion,       Hon. Timothy Volkmann         Co-Lead            Class Action Breach    Participated in law and motion
 Inc. et al., No.                                           Counsel            of Warranty            including opposing Defendant’s
 20CV01867 (Superior                                                                                  dispositive motions. This matter is
 Court of Santa Cruz, CA)                                                                             currently in the discovery phase of
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                                                           litigation and will not require a large
                                                           time commitment
